           Case 1:25-cv-03326-PK                 Document 4        Filed 06/16/25       Page 1 of 3 PageID #: 27

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

                                                                   )
        Manuel De Jesus Cruz Quezad, individually                  )
         and on behalf of others similarly situated,               )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                 v.                                       Civil Action No.   25-cv-3326
                                                                   )
                                                                   )
        Jack's Eggs and Other Ingredients LLC,(d/
                                                                   )
         b/a Jack's Egg Farm), Jack Neustadt and
                    Mordecai Neustadt,                             )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                       See attached rider




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Faillace
                                       Michael Faillace & Associates, P.C.
                                       60 East 42nd Street, Suite 4510
                                       New York, New York 10165


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                             #3&//"#.")0/&:
                                                                             CLERK OF COURT

               6/16/2025
Date:
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 Additional information regarding attempted service, etc:
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                           X
Manuel De Jesus Cruz Quezad, individually
and on behalf of others similarly situated,
                                                         Index No.
Plaintiffs,                                              RIDER TO REQUEST FOR
                                                         SUMMONS
-against-

Jack's Eggs and Other Ingredients LLC,(d/
b/a Jack's Egg Farm), Jack Neustadt and
Mordecai Neustadt,

Defendants.



                                               X

       Jack's Eggs and Other Ingredients
       LLC,(d/b/a Jack's Egg Farm),
       130 44th street
       Brooklyn, NY 11232

       Jack Neustadt
       130 44th street
       Brooklyn, NY 11232

       Mordecai Meustadt
       130 44th street
       Brooklyn, NY 11232
